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                        EXHIBIT E
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


In Re: AUTOMOTIVE PARTS
                                                Master File No. 2: l 2-md-02311
ANTITRUST LITIGATION
                                                Honorable Marianne 0. Battani
- -- - - - - - -- -- ------1
In Re: Valve Timing Control Devices
                                                Civil No. 2:17-cv-13158
 ALL EUROPEAN AUTO SUPPLY, INC.,
 individually and on behalf of a class of all
                                                ELECTRONICALLY FILED
 others similarly situated,
                             Plaintiff          ORAL ARGUMENT REQUESTED
 V.



 AISIN SEIKI CO., LTD., AISIN
 AUTOMOTIVE CASTING, LLC, KOREA
 DELPHI AUTOMOTIVE SYSTEMS CORP.,
 HITACHI, LTD. , HITACHI AUTOMOTIVE
 SYSTEMS, LTD. , HITACHI AUTOMOTIVE
 SYSTEMS AMERICAS, INC., MIKUNI
 CORPORATION, MIKUNI AMERICAN
 CORPORATION, MITSUBISHI ELECTRIC
 CORPORATION, MITSUBISHI ELECTRIC
 US HOLDINGS, INC., MITSUBISHI
 ELECTRIC AUTOMOTIVE AMERICA,
 INC.
                             Defendants

 DECLARATION OF NORIKUNI FUJISHIRO IN SUPPORT OF AISIN SEIKI CO., LTD.
       AND AISIN AUTOMOTIVE CASTING, LLC'S MOTIONS TO DISMISS
      ALL EUROPEAN AUTO SUPPLY, INC.'S CLASS ACTION COMPLAINT
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 Pursuant to 28 U.S.C. § 1746, Norikuni Fujishiro hereby declares as follows:

         1.     I submit this Declaration in support of Aisin Seiki Co., Ltd. 'sand Aisin

 Automotive Casting, LLC's Motions to Dismiss All European Auto Supply, Inc. 's ("AEAS")

 Class Action Complaint, No. 2:l 7-cv-13158-JCO-APP, Sept. 26, 2017, ECF No. 1

 ("Complaint"). I am a resident of the United States. I have personal knowledge of the facts

 contained herein.

        2.      I serve as Senior Coordinator with Aisin Holdings of America, Inc. ("Aisin

 Holdings"). Aisin Holdings is incorporated in Michigan, and its principal place of business is in

 Northville, Michigan. Aisin Holdings manages all of the North American operations and

 subsidiaries of its parent company Aisin Seiki Co., Ltd. ("Aisin Seiki"), including Aisin

 Automotive Casting, LLC ("Aisin Automotive Casting") and Aisin World Corp. of America

 ("AWA").

        3.      Aisin Seiki is a Japanese corporation, with its principal place of business in

 Kariya, Japan, that primarily develops and produces certain components for the automotive

 industry. Both Aisin Automotive Casting and AWA are indirect, wholly-owned subsidiaries of

 Aisin Seiki.

        4.      Aisin Automotive Casting is incorporated in Kentucky, and its principal place of

 business is in London, Kentucky. Aisin Automotive Casting produces engine-related functional

 and die cast automotive parts. Within the broad definition of "Valve Timing Control Devices"

 set forth in the Complaint, Aisin Automotive Casting only produces variable valve timing

 ("VVT") devices.

        5.      A WA is incorporated in Michigan and its principal place of business is in

 Northville, Michigan. A WA sells automotive parts and accessories. Within the broad definition
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 of "Valve Timing Control Devices" set forth in the Complaint, AWA only sells variable valve

 timing ("VVT") devices.

         6.     AW A is the only entity within the Aisin Seiki group of companies that has sold

 VVT to parties outside the Aisin Seiki group of companies in the United States.

         7.     Aisin Automotive Casting does not and has never sold VVT to any company

 outside of the Aisin Seiki group of companies.

         8.     Aisin Automotive Casting does not and has never sold VVT to Plaintiff AEAS.

         9.     Beginning in November 2015, AWA sold VVT replacement parts for the

 aftermarket to AEAS, which participated in a buying group called Automotive Parts Associates,

 Inc.

         10.    Each invoice for a purchase of VVT from AWA contained a list of "Terms and

 Conditions," attached hereto as Exhibit 1, that governed the sale. See Ex. 1 at 1. Among the

 Terms and Conditions is the following clause:

        This Agreement shall be construed in accordance with and governed by the laws of the
        State of California. Both parties agree to personal and subject matter jurisdiction
        exclusively in the State of California. Any lawsuit or legal action arising out of this
        Agreement or any breach thereof, shall be brought and maintained only before the
        Superior Court for the State of California located in Los Angeles County.

 I declare under the penalty of perjury that the foregoing is true and correct.

 EXECUTED ON: May22, 2018 in Northville, Michigan



                                        4~~      ~ F~
                                                Senior Coordinator
                                                                                   ---::

                                                Aisin Holdings of America, Inc.
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                                                            TERMS AND CONDITIONS

   All orders are sub;ect to Seller's approval of Buyer's credit and to SeGer's acceptance in writing. In complying with specifications. the
   Seller shall have the benefit of all customs and usages of the industry.

   NO WARRANTIES. EXPRESS OR IMPLIED. INCLUDING WITHOUT LIMITATION. ANY WARRANTIES OF M ERCHANTABILITY OR
   FITNE SS ARE MADE WITH RESPEC T TO THE PRODUCTS LISTED EXCEPT AS CONTAINED IN THIS DOCUMENT.

   Seller's acceptance of this contract is expressly conditioned on Buyer's assent to all of the following standard conditions of sale. Any
   additional or different terms or conditions which may appear in any communication from Buyer ar e hereby objected to and shall not be
   effective or bindi ng unless specifically recognized and assented to in writing by Sel ler's authorized representative and no such
   additional or different terms or conditions in any printed form   °'
                                                                    Buyer shall become part of this contract despite Seller's acceptance of
   tne contract ooiess sucn acceptance so spec111ea11y reoogruzes ana assents to tnetr 1ne1us1on. The waiver or mocmlcatk>n oy tne se11er
   of any of these terms and conditions shall not void or waive or modify any of the other terms and conditions.

   Unless otherwise agreed to in writing. this order wil be invoiced at the price prevailing at time of shipment Terms of sale of the order
   shall be govemed by the terms and conditions of this invoice and applicable price lists or quotation. Any terms and conditions on
   Buyer's purchase order or any other document allegedly applicable to the transaction are rejected by Seller and waived by Buyer. Any
   taxes imposed by any governmental authority upon the Seller based on the processing, sales. or delivery of the merchancise covered
   in this quotation shal be added to the above prices and paid by the Buyer.

   Orders are not subject to cancellation or change after acceptance without the written consent of the Seller. Orders are accepted
   subject to any allo1ment plan Seller has in effect or may put into effect. Unless otherwise stated hereon. marti:ing and labeling of the
   products ordered shall be Wl accordance with the Seller's standard me-thod. If Buyer desires that special label s be used. Buyer shal
   fumish same at no cost to Seller. and ftxther. such special labeli ng must be agreed to betwe,en Buyer and Seller at time order is
   placed.

   Seller shall retai n titte to and possession of any designs. ske-tches. bfueprints. drawings. patterns. model s. dies. molds . tool s. special
   appliances and material s used in comection with this order. whether or not paid for by Buyer. Seller shall have the right to destroy any
   such materials once the Ofder is fil led without notice to. or the consent of. Buyer.

   T he Seller shall not be liable for k>ss. damage or delay in manufactixe. shipme.nt or deivery o4 the products ordered. or for its inability
   to perform any or all of  as  obligations her eooder due to any causes beyond Seller's control. including but not limited to. acts of God.
   any acts or omissions of Buyer. acts of civil or mmtary authorities, fire. floods. wiidstorms. earthquakes. suites . lcdtouts. or other labor
   di stu'bances . civil commotion. war. delays in transportation. late delivery by Seller's suppliers or manufacturers. fuel or other energy
   shortages. or an inability to obtain necessary labor, materials, supplies. equipment or manufactur ing fa~           . If any such cause results
   in a delay Wl performance. the date of delivery or of performance shal be extended for a period equal to the time lost by reason of the
   dob1y• .-:ind s:uch oxtons:ion s:.h::.11 bo Su~r's: oxelu s;iyo l'Offlody. Aceopbnee of tho pl'OdUCU by Buyw- s:h::.11 com:tituto ~ w;iiivcw of all
   claims for k>ss or damages due to delay resulting from any cause. The Seller's liability does not cover wear and tear. abuse or m isuse
   by the Buyer. its employe,es or agents. and is not applicable ri cases where Buyer has taaed to folow instructions supplied by the
   Seller. or Wl case oi any defect due to art work. dr awings or specifications furnished by the Buyer.

   Buyer's exck.lsive remedy for any breach of contract or warranty shall be li mited to the price o4 the Product(s) pl.WChased. Al darns
   agains1 the Seller of whatsoever ki nd shall be limited to replacing F .O.B. Seller's clod( any product which may prove to be defective or
   at Seller's option, allowing a refund oi the purchase price of such defective product(s): provided the Buyer gave Seller prompt notice in
   writing of the defect or defects withi n ten ( 10) days o4 frst use. but in no event more than thirty (30) days after receipt of the goods by
   the Buyer. and if inspection by Sel ler, at Seller's option, confirms the defect or defects. ft is expressly agreed that Buyer shall not be
   entitted to recover any incidental or consequential damages as those t erms are defined in the Uniform Commercial Code.

   THE SELLER SHALL HAVE NO LIABILITY FOR AHY SPECIAL. INDIR ECT. CONSEQUENTIAL. OR PUNITIVE DAMAGES
   WHATSOEVER. WHETHER ARISING FROM LOSS OF PRODUCTION, DELAYS OR LOSS ARISING FROM ALLEGED
   NEGLIGENCE OF SELLER.

   In the even t that either party retains an attorney to enforce any provision of thi s Agreement. then the successful party shall be entitled
   to the award of reasonable attorneys' fees from any party in default. induding fees incurred in arbitration and mediation. or incurred i n
   state and federal trial. bankrup tcy. and appelate courts and fees incurred without suit. and all court and accol.W'lting costs incurred Wl
   resolution of such dispute.

   T his Agreement consb.lutes the entire agreement o4 the Parties w,_lh respect to the terms her eto. and no other agreement statement or
   promise made by any Party. or to any employee. officer. or agent of any Party. which is not contained in this Agreement shal be
   bi nding or valid.

   T his Agreement shall be construed in accordance with and governed by the laws of the State of California. Both parties agree to
   personal and subject matter jur isdiction exdusively in the Sta1e of California. Any lawsuit or legal action arising our of this Agreement
   or any breach thereof, shall be brought and m.aintained only before the Superior Court for the State o4 California located i n Los Angeles
   County.
